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   IT IS ORDERED as set forth below:



   Date: December 13, 2021
                                                        _________________________________

                                                                 Jeffery W. Cavender
                                                            U.S. Bankruptcy Court Judge

 ________________________________________________________________


                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                             :             CHAPTER 7
                                                   :
BENYOUNES SERHIR,                                  :             CASE NO. 20-71913-JWC
                                                   :
         Debtor.                                   :
                                                   :

   ORDER APPROVING SETTLEMENT AGREEMENT UNDER RULE 9019 OF THE
             FEDERAL RULES OF BANKRUPTCY PROCEDURE

         On November 17, 2021, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estate (the “Bankruptcy Estate”) of Benyounes Serhir (“Debtor”), filed a Motion

for Order Authorizing Settlement between Trustee and Plaza Home Mortgage, Inc. under Rule

9019 of the Federal Rules of Bankruptcy Procedure [Doc. No. 29] (the “Motion”) and related

papers with the Court, seeking an order, among other things, approving a settlement agreement

(the “Settlement Agreement”) between Trustee and Plaza Home Mortgage, Inc. (“Plaza” and

with Trustee, the “Parties”) related to certain improved real property with a common address of

706 Sweet Spice Way, Canton, Cherokee County, Georgia 30114 and the alleged security




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interest in the same. More specifically, under the terms of the Settlement Agreement, inter alia,1

within 30 days of this Order2 becoming final, Plaza shall cause to be paid to Trustee $40,000.00

(the “Settlement Funds”) in one lump sum payment by delivering an official check to Trustee in

the amount of $40,000.00 made payable as follows: “S. Gregory Hays, Trustee (Serhir).” In

addition, effective upon this Order becoming a final order, the Plaza Security Deed shall be

deemed properly perfected, and Plaza and any of its successors in interest are permitted to take

any and all actions that they deem necessary or appropriate to perfect the perfection of the Plaza

Security Deed. Additionally, the Parties stipulate and agree that Plaza and its successors in

interest shall not have a claim as an unsecured creditor in the Bankruptcy Case against the

Bankruptcy Estate for or on account of payment of all or any portion of the $40,000.00

Settlement Funds, or for any reason, and that neither Plaza, any of its successors, nor any of their

affiliates, agents, principals, or subsidiaries shall receive a distribution from the Bankruptcy

Estate. And, within ten (10) business days of the later of: (a) this Order becoming a final order,

or (b) Trustee’s receiving the Settlement Funds, Trustee and Plaza shall file a stipulation, or

other appropriate paper, dismissing with prejudice the claims raised by Trustee against Plaza and

Pennymac in the Adversary Proceeding. Finally, Trustee, on the one hand, and Plaza, on the

other hand, grant broad releases to one another.         The complete terms of the Settlement

Agreement are set forth in Exhibit “A” to the Motion.




1
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement controls.
2
      Capitalized terms not defined in this Order shall have the meanings ascribed to them in
the Motion.



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        On November 18, 2021, Trustee filed a notice of hearing [Doc. No. 30] (the “Notice”)

regarding the Motion setting it for hearing on December 16, 2021 (the “Hearing”). Counsel for

Trustee certifies that he served the Notice on all requisite parties in interest. [Doc. No. 31].

        The Notice provided notice of the opportunity to object and for hearing pursuant to the

procedures in General Order No. 24-2018. No objection to the Motion was filed prior to the

objection deadline provided in the Notice.

        The Court having considered the Motion and all other matters of record, including the

lack of objection to the relief requested in the Motion, and, based on the forgoing, finding that no

further notice or hearing is necessary; and, the Court having found that good cause exists to grant

the relief requested in the Motion, it is hereby

        ORDERED that the Motion is GRANTED: the Settlement Agreement is approved and

its terms are incorporated herein. It is further

        ORDERED that Trustee and Plaza may take any other actions necessary to effectuate the

terms of the Settlement Agreement. It is further

        ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce

this Order, (ii) resolve any disputes regarding or concerning the Settlement Agreement, and (iii)

enter such other and further orders as may be necessary, just, or proper as an aid to enforcement

or implementation of this Order.

                                     [END OF DOCUMENT]




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Order prepared and presented by:

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Identification of entities to be served:

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